Case 1:23-cv-04345-LMM Document 1-4 Filed 09/25/23 Page 1 of 3




                    EXHIBIT 5
         Case 1:23-cv-04345-LMM Document 1-4 Filed 09/25/23 Page 2 of 3




                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

                            )
ELISA RODRIGUEZ,            )
                            )
                            )
     Plaintiff,             )
                            )                        CIVIL ACTION NO. 23-C-03597-S4
v.                          )
                            )
SIKA CORPORATION, GREENWICH )
INSURANCE COMPANY, and      )
MICHAEL STEVEN REEVES,      )
                            )
     Defendants.            )


             DEFENDANTS’ NOTICE OF FILING OF NOTICE OF REMOVAL

       TO:     Clerk, State Court of Gwinnett County, Georgia.

       In compliance with 28 U.S.C. § 1446(d), you are hereby notified of the filing of a Notice

of Removal of this action to the United States District Court for the Northern District of Georgia,

Atlanta Division, a copy of said Notice of Removal being attached hereto as Exhibit 1.

       This 25th day of September, 2023.

                                             DREW ECKL & FARNHAM, LLP

                                             /s/ Andrew D. Horowitz
                                             Andrew D. Horowitz
                                             Georgia Bar No. 367815
                                             Jordan E. Wilkinson
                                             Georgia Bar No. 604097
                                             Attorneys for Defendants

303 Peachtree Street
Suite 3500
Atlanta, Georgia 30308
T: (404) 885-1400
E: ahorowitz@deflaw.com
E: wilkinsonj@deflaw.com
           Case 1:23-cv-04345-LMM Document 1-4 Filed 09/25/23 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I certify that, on the date below, I served all parties in the foregoing matter with a copy of

the foregoing Notice of Filing of Notice of Removal by electronic service on each party’s counsel

of record, properly addressed as follows:

                                Parker M. Green, Esq.
                                Green Law, LLC
                                178 S. Main Street
                                Suite 300
                                Alpharetta, Georgia 30009
                                parker@greenlaw-atl.com

         This 25th day of September, 2023.

                                                DREW, ECKL & FARNHAM, LLP

                                                /s/ Andrew D. Horowitz
                                                Andrew D. Horowitz
                                                Georgia Bar No. 367815
                                                Attorneys for Defendants

303 Peachtree Street
Suite 3500
Atlanta, Georgia 30308
Telephone: (404) 885-1400
Facsimile: (404) 876-0992
Email: ahorowitz@deflaw.com
13823282v1
05769-243377
